887 F.2d 1079Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re Joseph Marion HEAD, Jr., Plaintiff-Appellant.
    No. 88-7784.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 14, 1989.Decided:  Sept. 26, 1989.
    
      Joseph Marion Head, Jr., appellant pro se.
      Before DONALD RUSSELL, WIDENER and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Marion Head, Jr., appeals from the district court's order dismissing 75 paperwritings as legally frivolous.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  In Re:  Joseph Marion Head, Jr., C/A No. 88-231-SH (W.D.N.C. Sept. 23, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    